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11                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
12

13   X Corp.,                                                 Case No. 23-cv-03698-WHA
14                                   Plaintiff,
                                                              Hon. William H. Alsup
15
                             v.                               Courtroom 12 – 19th Floor
16                                                            July 25, 2024 at 8 a.m.
     BRIGHT DATA LTD.
17
                                     Defendant.
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20     BRIGHT DATA’S MOTION TO DISQUALIFY QUINN EMANUEL [CORRECTED]
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                                  Bright Data’s Motion to Disqualify Quinn Emanuel
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 1                                       NOTICE OF MOTION

 2          PLEASE TAKE NOTICE that the hearing on Bright Data’s Motion to Disqualify Quinn
 3   Emanuel will take place on July 25, 2024, at 8:00 AM.
 4          The motion seeks disqualification of X’s new counsel, Quinn, Emanuel, Urquhart &
 5   Sullivan, LLP (“Quinn”), under the California Rules of Professional Conduct (“RPC”).
 6                           STATEMENT OF ISSUES TO BE DECIDED
 7          1.      Does RPC 1.9(a), and associated case law, prohibit Quinn from representing X in
 8   this matter, because current Quinn attorneys previously represented Bright Data in connection
 9   with the “substantially related” matter Meta Platforms, LLCInc. v. Bright Data Ltd., 23-cv-00077
10   (N.D. Cal.)?
11          2.      Does RPC 1.9(b), and associated case law, prohibit Quinn from representing X in
12   this matter, because Quinn obtained, or is presumed to have obtained, confidential Bright Data
13   information, including client confidences, attorney-client privileged information, and attorney
14   work product in connection with its prior representation of Bright Data?
15          3.      Does RPC 1.10(a), and associated case law, require that Quinn be disqualified?
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     1
27    Unless otherwise noted, all emphasis added, initial capitalizations conformed without brackets,
     and internal citations and quotation marks omitted. “Ex.” refers to exhibits accompanying the
28   Declaration of David Munkittrick.

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 1   I.     INTRODUCTION.

 2          When Meta and Bright Data filed dueling lawsuits against each other, Bright Data engaged

 3   Quinn, Emanuel, Urquhart & Sullivan, LLP for advice.              Now, Quinn has switched sides,

 4   representing X in suing Bright Data to prevent public web scraping and to shut down the same

 5   services at issue in the Meta case. Doing so violates the core tenets of loyalty and confidentiality

 6   under California’s Rules of Professional Responsibility. Quinn must be disqualified.

 7          When Bright Data engaged Quinn, Quinn had just concluded its litigation (on behalf of a

 8   scraper) of the highest-profile scraping case ever filed in the federal courts. Though it ultimately

 9   lost the bulk of the case on summary judgment, Quinn succeeded in establishing the principle,

10   cited by this Court in dismissing X’s First Amended Complaint, that giving social media

11   companies “free reignrein to decide ... who can collect and use data … risks the possible creation

12   of information monopolies that would disserve the public interest.” See ECF 83 at 2 (quoting hiQ

13   Labs, Inc. v. LinkedIn Corp., 31 F.4th 1180, 1202 (9th Cir. 2022)). Having litigated against one

14   of the most dominant social media platforms – and having secured a ruling supporting the core

15   principle undergirding Bright Data’s business and mission – Bright Data sought Quinn’s counsel

16   and advice.

17          Quinn jumped at the opportunity, touting its experience representing scrapers and battling

18   social media platforms. Bright Data formally engaged Quinn to provide behind-the-scenes

19   strategic advice concerning the litigation. Quinn was paid nearly $40,000, prepared a detailed

20   strategic assessment, and participated in multiple calls and virtual meetings with Bright Data’s

21   senior leaders, including its General Counsel, CEO, and the board. This was not merely a pitch

22   for a prospective client, but a full-blown, paid-for engagement.

23          Quinn’s attempt to lead Bright Data into battle failed, however, and ultimately, Bright Data

24   secured the victory that Quinn was unable to obtain for hiQ. Unable to represent the leading public

25   web data company, and fresh off a stinging loss in the hiQ case, Quinn decided to switch sides.

26   After this Court dismissed X’s complaint, X hired Quinn to help revive it. But because the Meta
27   and X cases are “substantially related” – involving virtually identical conduct, claims, defenses,

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 1   and legal issues – California’s ethics rules preclude Quinn from representing X.

 2          Both the duties of loyalty and confidentiality compel disqualification. The duty of loyalty

 3   precludes a firm from switching sides on substantially related matters. X previously represented

 4   to this Court that the X and Meta cases “involve[] similar allegations of data scraping from social

 5   media platforms” and overlapping legal issues. ECF 51 at 10. Indeed, X’s Complaint largely

 6   mirrors Meta’s allegations, in many instances copying allegations verbatim. In providing strategic

 7   litigation advice to Bright Data, Quinn recognized that the Meta case could set precedent for any

 8   future claims by other website operators, and advised Bright Data on how it might seek to vindicate

 9   its business model through litigation. But now it seeks the opposite: to drive a stake through Bright

10   Data’s business. The duty of loyalty does not permit this. Knight v. Ferguson, 149 Cal.App.4th

11   1207, 1216 (2007) (“The law regards the shifting of loyalty and allegiance from one of two adverse

12   interests to the other as impossible, and will have none of it.”).

13          The duty of confidentiality also prevents Quinn from switching sides. When successive

14   matters are “substantially related,” the exchange of confidential information is “conclusively

15   presumed” as a matter of law. This avoids requiring a former (or current) client to disclose

16   attorney-client communications in order to seek (or resist) disqualification. Indeed, it is hard to

17   fathom how Quinn could even respond to this motion factually without Quinn’s Bright Data Team

18   improperly disclosing privileged attorney-client communications to its X Team.

19          But even aside from any presumption, Quinn became privy to Bright Data’s core client

20   confidences. Just as any lawyer would and must do, Quinn probed Bright Data for information to

21   enable it to provide detailed strategic advice. This advice concerned, not just Bright Data’s

22   dealings with Meta, but also information about Bright Data’s business, technology, priorities, and

23   objectives. Quinn also received attorney-client privileged and attorney work product from Bright

24   Data’s litigation counsel discussing the Meta litigation, strategy, and Quinn’s strategic assessment.

25   Quinn then participated in a lengthy meeting with Bright Data’s Board, senior leaders, and

26   litigation counsel, discussing how best to defeat what Quinn has publicly stated were
27   “unconscionable” efforts by dominant social media platforms to control the Internet. Litigation

28

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 1   strategy, including discussions about the strength and weaknesses of claims and defenses, are client

 2   secrets or confidences worthy of protection.

 3          Before joining arms with X, Quinn must have known that its representation of Bright Data

 4   posed a conflict. It had a formal, executed engagement with Bright Data, sent invoices to Bright

 5   Data, and received payments from Bright Data. A large, global firm like Quinn certainly has

 6   robust processes to identify potential conflicts before engaging a new client or new matter. Yet

 7   Quinn remained silent while it worked on X’s Second Amended Complaint, only disclosing its

 8   involvement late last week, days before filing. It did not provide any notice to its former client.

 9   When it appeared, it excluded the lawyers who had developed expertise in scraping matters,

10   presumably because of the fact they worked on the hiQ and Bright Data matters, and were thus

11   conflicted. But the firm is disqualified, not just particular lawyers. The rules of imputed conflicts

12   do not allow Quinn, or any of its lawyers, to turn on its former client. Lawyers may switch firms,

13   but firms may not switch sides. Quinn must be disqualified.

14   II.    FACTUAL BACKGROUND.1

15          On January 6, 2023, Bright Data and Meta filed competing lawsuits in Delaware state court

16   and the Northern District of California. Bright Data sought a Declaratory Judgment that its

17   scraping services neither violated Meta’s contractual rights nor any other law. Meta, conversely,

18   asserted that Bright Data breached its Terms of Service and tortiously interfered with third-parties.

19          On February 15, 2023, while the parties were engaged in preliminary motion practice,

20   Bright Data’s General Counsel, Mor Avisar, reached out to Hope Skibitsky at Quinn, seeking to

21   retain its services. Avisar Decl., Ex. 1 ¶ 3. Ms. Skibitsky and her colleagues, including Adam

22   Wolfson and Zane Muller, were fresh off their representation of hiQ in the highly publicized and

23   long-running litigation, hiQ v. LinkedIn, 17-cv-03301 (N.D. Cal.).

24          In that matter, the Ninth Circuit ruled in hiQ’s favor on the question of whether logged-off,

25

26   1
       In order to preserve Bright Data’s attorney-client privilege, Bright Data is not disclosing the
27   substance of any communications between Quinn and Bright Data or the substance of Quinn’s
     advice or assessments, but rather is limiting its recitation of facts to public information or
28   information that would otherwise appear on a Privilege Log.

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 1   or public scraping, violated the Computer Fraud and Abuse Act. Central to the Ninth Circuit’s

 2   ruling was its view that “giving companies like LinkedIn free rein to decide, on any basis, who

 3   can collect and use data — data that the companies do not own, that they otherwise make publicly

 4   available to viewers, and that the companies themselves collect and use — risks the possible

 5   creation of information monopolies that would disserve the public interest.” hiQ Labs Inc. v.

 6   LinkedIn Corp., 31 F.4th 1180, 1202 (9th Cir. 2022). This was a watershed ruling, essentially

 7   eliminating liability for scrapers under the CFAA. But the case was not over. Litigation in the

 8   district court proceeded on other theories, including breach of contract. On November 4, 2022,

 9   the district court, Judge Edward Chen presiding, granted summary judgment in LinkedIn’s favor

10   on the question of whether logged-on, or non-public search, violated LinkedIn’s Terms. 639

11   F.Supp.2d3d 944 (N.D. Cal. 2022). The Court left certain issues open relating to logged-off search,

12   but the judgment in LinkedIn’s favor killed most of hiQ’s defenses, and the matter soon settled.

13          Despite Quinn’s hiQ loss, Bright Data was still interested in Quinn’s counsel given its

14   experience litigating scraping cases against social media giants. Bright Data formally engaged

15   Quinn to provide a detailed strategic assessment of the Meta cases, with fees prior to the entry of

16   appearance in the litigation capped at $40,000. Ex. 2. In their Engagement Letter, the parties

17   agreed that Quinn would “provid[e] an analysis of the Litigation, including an analysis of the

18   arguments that may be raised and defended against in the Litigation and an overview of what

19   [Quinn] sees as potential next steps in the Litigation, and participat[e] in calls with Bright Data’s

20   senior management to answer any questions arising following review of our analysis by Bright

21   Data’s senior management.” Ex. 2 at 2. “In order [for Quinn] to represent [Bright Data]

22   effectively,” Bright Data also committed to “provide [Quinn] with complete and accurate

23   information regarding the subject matter of the Engagement, and [to keep Quinn] informed on a

24   timely basis of all relevant developments.” Id. at 4.

25          Quinn got to work immediately. It prepared a series of questions for Bright Data regarding

26   its business, the litigation, its priorities, and strategies, which it discussed with Bright Data’s
27   general counsel telephonicallyover video conference on or about February 26, 2023. Avisar Decl.,

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 1   Ex. 1 ¶ 9. Bright Data also provided confidential documents to Quinn, at its request. Id. On

 2   March 2, 2023, Quinn sent a detailed 24-page (single spaced) assessment of Bright Data’s

 3   litigation and other strategies, including procedural considerations, substantive arguments,

 4   potential affirmative defenses and counterclaims, discovery, and other potential avenues of attack

 5   (the “Quinn Report”). Id. ¶ 10. Importantly, the Quinn Report focused not just on Bright Data’s

 6   continued ability to scrape Meta, it “‘approached the analysis’ from the perspective that the Meta

 7   litigation could have implications ‘beyond [the] particular dispute’ with Meta, including Bright

 8   Data’s legal rights with respect to ‘others like Meta’ who may try to enforce their Terms of

 9   Service.” Id.

10          After receiving the Quinn Report, Bright Data asked its current Litigation Counsel to

11   review the Report and comment on Quinn’s proposed strategy. Bright Data provided Litigation

12   Counsel’s responsive analysis to Quinn, and scheduled an all-hands video meeting on March 12,

13   2023 to discuss. Id. ¶¶ 11-13. The meeting included Bright Data’s board, its CEO, its General

14   Counsel, three lawyers from Quinn (Ms. Skibitsky, Mr. Wolfson, and Mr. Muller), and two

15   lawyers from Bright Data’s current Litigation Counsel. Id. Over several hours, the client and the

16   two outside law firms discussed website operators’ claims, the likely defenses to such claims, and

17   the procedural and substantive strategies to best advance Bright Data’s principal contention that it

18   had an unqualified right to freely search the public web. Id. ¶ 14. As with the Quinn Report, the

19   discussion was not limited to Meta’s claims, but also focused on implications for future litigations

20   and website operators’ legal attacks to Bright Data’s services. Id. Following the all-hands

21   meeting, Bright Data continued with its current litigation counsel, and the Quinn Engagement

22   came to an end. Id. ¶ 15.

23          While the Meta case was pending, X Corp. filed suit against Bright Data on July 26, 2023.

24   ECF 1. X’s initial Complaint was a copycat, modeled extensively on Meta’s. X subsequently

25   amended the Complaint to add a few additional claims in response to Bright Data’s motion to

26   dismiss. See ECF 36. But the similarities persist. As the following chart shows, the facts, claims,
27   and issues are virtually identical in both cases:

28

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 1
                     Meta Complaint                        X Proposed Second Amended Complaint
 2
      31. “Defendant was bound by Facebook’s and 76. “Defendant … is … bound by those
 3    Instagram’s Terms and Policies.”           Terms.”

 4    77. “All Facebook and Instagram users must 124. “All X users must agree to abide by the
      agree to the Facebook and Instagram Terms.” Terms...”
 5

 6    78. “Defendant is aware that the Facebook and 125. “As a user of X Corp.’s platform, …
      Instagram Terms govern…”                      Defendant is aware of the Terms…”
 7
      35.    “Defendant used its Facebook and 82. “Defendant … used these X accounts to …
 8    Instagram accounts to promote its automated promote their data-scraping products and
      scraping services…”                         services…”
 9
      36. “Defendant has used automated means to 83. “Defendant … has engaged in widespread
10
      scrape and facilitate the scraping of data from scraping of X Corp.’s data, … Defendant has
11    Facebook and Instagram.”                        also facilitated the scraping of data from X...”

12    57. “Defendant took these steps to evade 95. “[Bright Data’s] tool … is designed to
      Meta’s detection systems…”               evade anti-scraping measures...”
13
      68. “Defendant has breached … Instagram’s          115. “Defendant has repeatedly violated the
14
      Terms and Facebook’s Terms [by] (i) using          Terms … by (i) accessing the X platform
15    automated means without Meta’s permission          through automated means without specific
      to scrape data …, (ii) facilitating others to      authorization from X Corp.; (ii) scraping data
16    scrape data from Facebook and Instagram            from the X platform …; (iii) selling tools that
      without Meta’s permission, and (iii) selling       enable others … to scrape data; … and (v)
17    data obtained from Facebook or Instagram.”         selling data … scraped from the X platform.”
18
      80. “By offering services and tools designed       128. “By offering services and tools designed
19    to scrape data from Facebook and Instagram         … to scrape data from the platform, Defendant
      … Defendant induced a breach or disruption of      induced a breach or disruption of the Terms by
20    [Meta’s] Terms by other … users.”                  X users.”
21    8. “The Court has personal jurisdiction … 9. “This Court has personal jurisdiction …
      because Facebook’s Terms … contain a forum because … X Corp.’s Terms … require all
22
      selection clause…”                         disputes … be brought in … California.”
23
      10.    “Defendant knowingly directed and           10. “Defendant knowingly directed prohibited
24    targeted its conduct at California and at Meta,    conduct to California … and [at] X Corp.,
      which has its principal place of business in       which has its principal place of business in
25    California.”                                       California…”
26
27          Following this Court’s dismissal of X’s First Amended Complaint, X retained Quinn as

28   lead counsel going forward. Quinn entered its appearance on June 4, 20232024. See ECF 84-86.

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 1   Just two days later, on June 6, 20222024, Quinn filed a Motion for Leave to Amend the Complaint,

 2   asserting the same claims X had previously asserted. The Quinn lawyers appearing in this matter

 3   are not the same as those that billed time to the Bright Data matter. But the lawyers who worked

 4   on the Bright Data engagement remain at Quinn. And all the Quinn attorneys on both matters

 5   work in the same two offices (New York and San Francisco).

 6   III.    STANDARD OF REVIEW.

 7          “Every attorney before this district court must comply with the standards of professional

 8   conduct required of the members of the State Bar of California.” Talon Rsch., LLC v. Toshiba Am.

 9   Elec. Components, Inc., 2012 WL 601811, *1 (N.D. Cal. 2012) (Alsup, J.). “Accordingly,

10   California law governs the issue of disqualification.” Id. Under California Model Rule of

11   Professional Conduct 1.9,

12          “(a)    A lawyer who has formerly represented a client in a matter shall not
                    thereafter represent another person in the same or a substantially related
13                  matter in which that person’s interests are materially adverse to the interests
14                  of the former client [absent informed consent]; [and]

15          (c)     A lawyer who has formerly represented a client in a matter or whose present
                    or former firm has formerly represented a client in a matter shall not
16                  thereafter … use [or] reveal [the client’s confidential information except as
                    specified].” RPC Rule 1.9.
17
            As the Comments to the Rule make clear, this imposes two separate and independent duties
18
     on counsel with respect to former clients: “The lawyer may not (i) do anything that will injuriously
19
     affect the former client in any matter in which the lawyer represented the former client, or (ii) at
20
     any time use against the former client knowledge or information acquired by virtue of the previous
21
     relationship.” See id., Comment 1 (citing cases).2
22
            These Rules are “written in the disjunctive,” and emanate from two separate ethical canons:
23
     the duty of loyalty preventing lawyers from switching sides in substantially-related matters, and
24

25
     2
       See also Elan Transdermal Ltd. v. Cygnus Therapeutic Sys., 809 F. Supp. 1383, 1387 (N.D. Cal.
26   1992) (“an attorney is forbidden to do either of two things after severing his relationship with a
27   former client. He may not do anything which will injuriously affect his former client in any manner
     in which he formerly represented him, nor may he at any time use against his former client
28   knowledge or information acquired by virtue of the previous relationship.”).

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 1   the duty of confidentiality preventing lawyers from misusing knowledge of a client’s secrets,

 2   confidences, or confidential information. See, e.g., U.S. v. Avanade Inc., 2015 WL 13886329, *8

 3   (W.D. Wash. 2015) (“RPC 1.9(a) and 1.9(c) are written in the disjunctive.”); San Francisco v.

 4   Cobra Sols., Inc., 38 Cal. 4th 839, 846-47 (2006) (“The interplay of the duties of confidentiality

 5   and loyalty affects the conflict of interest rules…. When a substantial relationship between the

 6   two representations is established, the attorney is automatically disqualified from representing the

 7   second client.”). Here, both of these rules compel Quinn’s disqualification.

 8   IV.    THE DUTY OF LOYALTY PRECLUDES QUINN FROM SWITCHING SIDES.

 9          “An attorney’s duty of loyalty to a client is not one that is capable of being divided.” See

10   Flatt v. Superior Ct., 9 Cal. 4th 275, 282 (1994). Here, Quinn’s Engagement Letter promises

11   Bright Data that it will be “always mindful of our central obligation to preserve the precious trust

12   which our clients repose in us.”3 Ex. 2 at 3. Quinn has violated that trust and breached its duty of

13   loyalty in assisting X to prosecute its claims against Bright Data. Talon, 2012 WL 601811, at *7

14   (“The sad fact is that a former client in numerous cases finds itself being sued by its former lawyer

15   on a substantially related matter. The former client has every right to expect that professional

16   standards will be honored.”).

17          In 2018, California revamped its code of professional responsibility, adopting in large part

18   the ABA’s Model Rules of Professional Conduct. As relevant here, the revised rules broadened

19   the limitations on a lawyer’s ability to take on conflicting successive representations. Whereas the

20   prior rule focused largely on the canon of confidences, the new rule contained a separate provision

21   trained upon the duty of loyalty, preventing side-switching even absent any receipt, use, or

22   disclosure of client confidences. See ABA Formal Opinion 497 (2021) (recounting history);

23   Hazard, The Law of Lawyering, § 14.12 (4th ed. 2023) (Under Rule 19(a), “there is no need to

24   assess the risk to former client confidences.”).4

25
     3
       Bright Data reserves its right to assert claims, including breach of contract and violation of the
26   ethics rules, against Quinn. To the extent Quinn informed X of its prior engagement, Bright Data
27   also reserves the right to assert tortious interference claims against X.

28
     4
      See also Touchcom, Inc. v. Bereskin, 299 F. App’x 953, 955 (Fed. Cir. 2008) (“Rule 1.9(a) of the
     Model Rules safeguards not only confidentiality, but also the client’s expectation of the attorney’s
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 1          Under Rule 1.9(a), a lawyer may not take on a new representation materially adverse to a

 2   former client if the two matters are the “same or … substantially related.” RPC § 1.9(a); see also

 3   O’Hagins, Inc. v. LGI LLP, 2017 WL 11665634, *2 (C.D. Cal. 2017) (a “former client can

 4   establish a … violat[ion] … by showing (1) the attorney is acting adversely to the former client[;]

 5   and (2) a ‘substantial relationship’ exists between the subjects of the [successive] engagements.”)

 6   (citing Flatt v. Sup. Ct., 9 Cal. 4th 275, 283 (1994)); Openwave Sys. Inc. v. Myriad France S.A.S.,

 7   2011 WL 1225978, *1 (N.D. Cal. 2011) (Alsup, J.) (same). Quinn recognized and agreed to this,

 8   as its Bright Data Engagement Letter includes an advance waiver except in matters “substantially

 9   related to [Quinn’s] representation of Bright Data.” Ex. 2 at 4.

10          The duty of loyalty thus prevents a lawyer from switching sides. See FMC Techs., Inc. v.

11   Edwards, 420 F. Supp. 2d 1153, 1160 (W.D. Wash. 2006) (“Parties are allowed to switch sides;

12   lawyers are not”).5 As the Ninth Circuit explained, “the interest to be preserved by preventing

13   attorneys from accepting representation adverse to a former client is the protection and

14   enhancement of the professional relationship in all its dimensions.” Trone v. Smith, 621 F.2d 994,

15   998 (9th Cir. 1980). The policy behind this is clear. If firms can simply switch sides after an

16   engagement ends, clients will be less trusting of their counsel and less willing to share confidences

17   and litigation strategies and priorities. As a leading treatise explains,

18

19
     loyalty and public confidence in the integrity of the bar”); Don Westerman, Inc. v. Vill. of Forsyth,
20   2020 WL 12811853 (C.D. Ill. 2020) (similar); Flake v. Arpaio, 2015 WL 13743445 (D. Ariz.
     2015) (similar); Avra Surgical, Inc. v. Dualis MedTech GmbH, 2014 WL 2198598 (S.D.N.Y.
21   2014) (similar); Pallon v. Roggio, 2006 WL 2466854 (D.N.J. 2006) (similar); Koch v. Koch Indus.,
     798 F. Supp. 1525, 1534 (D. Kan. 1992) (similar).
22
     5
        The duty of loyalty operates differently in cases involving former clients (or “successive”
23
     litigation) than it does in cases involving current clients (or “concurrent” litigation). Lawyers are
24   not permitted to act adversely to a current client on any matter (without consent), but can act
     adversely to former clients on matters that are not “substantially related.” But a lawyer can never
25   act adversely to a current or former client on a substantially related matter. Rosenfeld Constr. Co.,
     Inc. v. Superior Ct., 235 Cal.App.3d 566, 575 (Ct. App. 1991) (“If a substantial relationship is
26   established, the discussion should ordinarily end.”); Decaview Distribution Co. v. Decaview Asia
     Corp., 2000 WL 1175583, *13 (N.D. Cal. 2000) (successive representation on substantially related
27
     matters “forbidden”).
28

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 1           “Fearing these kinds of later betrayals, a client in an existing relationship might
             hesitate to confide fully in a lawyer, thereby damaging the quality of the
 2           relationship and hence the quality of the representation that the lawyer will provide.
 3           Thus, the chief office of rules like Model Rule 1.9 is to provide clients with
             assurance during the representation that they have no need to fear suffering adverse
 4           consequences later because of having retained a lawyer currently.”

 5   See Hazard, et al., The Law of Lawyering §14.03. The duty of loyalty thus protects the integrity

 6   of the judicial system by ensuring that clients can have frank and open conversations with their

 7   lawyers, free of the concern that they will later be betrayed on matters for which their advice was

 8   sought. It is about trust, perhaps the single most important currency in our judicial system.6

 9           Here, there is no question that Quinn is acting adversely to Bright Data by representing X

10   on the other side of the “v” in this litigation. See ABA Formal Opinion 497 (2021) (“Suing a

11   former client … (i.e., being on the opposite side of the “v” from a former client) on the same or on

12   a substantially related matter is a classic example of representing interests that are … ‘materially

13   adverse’ to the interests of a former client”); Avocent Redmond Corp. v Rose Elecs.,

14   491 F.Supp.2d 1000, 1007 (W.D. Wash. 2007) (The material adversity element is “met because

15   Heller Eherman’s former client is the plaintiff in this case” and its current clients are the

16   “defendants.”). As such, the only question is whether Quinn’s prior representation of Bright Data

17   is “substantially related” to its current representation of X.7 It is.

18           The fact that the Meta and X cases were filed separately on behalf of different plaintiffs is

19   of no moment. Because the Rules apply equally to successive representations in the “same or a

20   substantially related matter,” a complete identity of parties and claims is not required. The

21   “substantial relationship test is broad and not limited to strict facts, claims, and issues involved in

22   a particular action.” Knight v. Ferguson, 149 Cal.App.4th 1207, 1213 (Cal. App. 2d Dist. 2007);

23   Diva Limousine, Ltd. v. Uber Techs., Inc., 2019 WL 144589, *10 (N.D. Cal. 2019) (same). Rather,

24
     6
       See Dep’t of Corps. v. SpeeDee Oil Change Sys., Inc., 20 Cal. 4th 1135, 1146–47 (1999) (“The
25   effective functioning of the fiduciary relationship between attorney and client depends on the
26   client's trust and confidence in counsel. The courts will protect clients' legitimate expectations of
     loyalty to preserve this essential basis for trust and security in the attorney-client relationship.”),
27   7
       Trone, 621 F.2d at 998 (“[t]he relevant test for disqualification is whether the former
28   representation is ‘substantially related’ to the current representation.”).

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 1   a “‘substantial relationship’ exists whenever the ‘subjects’ of the prior and current representations

 2   are linked in some rational manner.” Jessen v. Hartford Cas. Ins. Co., 111 Cal.App.4th 698, 711

 3   (2003) (citing Flatt, 9 Cal. 4th at 283); Advanced Messaging Techs., Inc. v. EasyLink Servs. Int’l

 4   Corp., 913 F. Supp. 2d 900, 908 (C.D. Cal. 2012) (“a rational link between the subject matter of

 5   the two cases will suffice.”); ViChip Corp. v. Lee, 2004 WL 2780170, *3 (N.D. Cal. 2004) (same);

 6   ESC-Toy Ltd. v. Sony Interactive Ent. LLC, 2024 WL 1335079, *7 (N.D. Cal. 2024) (same).

 7          “In evaluating whether there is a substantial relationship between successive

 8   representations courts look to the similarities between the two factual situations, the legal questions

 9   posed, and the nature and extent of the attorney’s involvement with the cases … as well as the

10   attorney’s possible exposure to formulation of policy or strategy.” Diva, 2019 WL 144589, at *6.

11   Here, the factual and legal similarities, plus Quinn’s direct involvement with senior Bright Data

12   executives in formulating litigation strategy, compel a finding that the Meta and X cases are

13   substantially related.

14          The Meta and X Cases are Factually Similar. As X has admitted, the “Meta case involves

15   similar allegations of data scraping from social media platforms as the present case.” 8 ECF 51¶

16   10. The factual allegations in both cases are virtually identical. Both matters involve the same

17   Bright Data services.     Bright Data’s actions – including opening accounts for purposes of

18   advertising, terminating those accounts and sending rejection letters – are the same in both cases.

19   Moreover, both Meta and X have taken similar steps to make their users’ information public, and

20

21
     8
       X’s draft Case Management Statement represented that the Meta case was a “related case”
     because it alleged “similar” claims “based on Bright Data’s scraping activities,” and involved
22   some “common legal issues.” Ex. 3. Because that is not the test under the Local Rules, the parties
     agreed in the final Joint Case Management Statement that the cases were not related for purposes
23   of judicial assignment and coordination. ECF 51. But this has no bearing on whether the two
24   matters are related for disqualification purposes. See SC Innovations, Inc. v. Uber Techs., Inc.,
     2019 WL 1959493, *6 (N.D. Cal. 2019) (“the Court rejects Sidecar’s argument that the present
25   motion is informed in any way by Judge White’s decision that this case is not related to another
     case … [u]nder this Court’s local rules” because “[n]either element of [the Local Rule’s] test is
26   the same as the test for whether cases are ‘substantially related’ for the purpose of
     disqualification.”); MD Helicopters, Inc. v. Aerometals, Inc., 2021 WL 1212718, *8 (E.D. Cal.
27
     Mar. 31, 2021) (rejecting argument that “there is no substantial relationship between the
28   [successive] matters … because Defendant never filed a Notice of Related Case.”).

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 1   yet, attempt to restrict the public from scraping that information through “automated” means. Even

 2   the jurisdictional allegations – a hotly contested issue in this case – are the same in both cases.

 3          There are only a few minor differences between the X and Meta matters, none of which are

 4   material. X devoted an entire section of its opposition to Bright Data’s motion for Summary

 5   Judgment to explaining why Judge Chen’s Summary Judgment decision in the Meta case should

 6   not apply here. ECF 69 at 9-10. X did not identify any factual difference in Bright Data’s conduct

 7   or services. Instead, it focused largely on minor wording differences between Meta’s and X’s

 8   Terms (though both platforms interpret their Terms identically), and the different procedural

 9   posture of the cases (that some discovery had already been completed in the Meta case). Neither

10   difference renders the cases factually dissimilar. Monster Energy Co. v. Vital Pharms., Inc., 2018

11   WL 6431870, *3 (C.D. Cal. 2018) (matters “substantially related” even though they involved

12   different products; noting that plaintiff “paints with too fine a brush in distinguishing the basis of

13   the legal claims in these lawsuits” because “a substantial relationship … does not require an exact

14   match between facts and issues in the two” cases.”).

15          The Meta and X Cases Involve Common Legal Issues. Courts also look to whether the

16   successive matters involve similar legal issues. If there are common legal issues, it is likely “the

17   lawyer will be called upon in the new matter to challenge or set aside his own work product in the

18   previous matter.” See The Law of Lawyering §14.07. The concern about “attacking one’s own

19   work” or “fouling the nest” directly implicates the duty of loyalty. Id.

20          Here, virtually every legal issue that arose in the Meta case has, or will, arise in this case.

21   X’s initial complaint asserted the same two claims as Meta – breach of contract and tortious

22   interference – and X seeks to maintain them today. Even the new tort claims arise out of the same

23   nucleus of operative fact, and involve the same subject matter. Jessen, 111 Cal.App.4th at 711

24   (“The words ‘subject”’ and ‘subject matter’ mean more than the strict facts, claims, and issues

25   involved in a particular action”).

26          Bright Data will not, here, reveal the specific advice Quinn provided. But Quinn has a long
27   history of representing scrapers. In the HiQhiQ case, for example, Quinn publicly took the position

28

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 1   that Terms of Service prohibiting scraping were unconscionable and violated public policy. Quinn

 2   will now be forced to disavow that position and any advice it provided to Bright Data based on

 3   that prior view. Indeed, even if Quinn tries to reconcile its positions in the two cases, it would not

 4   solve the problem. No matter how “consistent or confident [it] may have been in its [prior]

 5   position, it still had to anticipate challenges to that position…, which likely engendered frank

 6   discussion of legal and factual issues” and “any weaknesses or vulnerabilities” in Quinn’s advice

 7   and arguments. Diva, 2019 WL 144589, at * 11.

 8          Nor does it matter that Quinn did not appear in the Meta matter. A client is entitled to its

 9   lawyer’s honest and best advice, not advice that shifts in the winds based on the client’s identity

10   or interests. When a lawyer disavows its own work, it casts doubt ofon the reliability of the earlier

11   advice. Indeed, if a lawyer, upon taking a conflicting matter, could just say “ignore everything I

12   said previously, I didn’t mean it,” clients will not only be deprived of the advice they paid for but

13   they will also be hesitant to rely upon it from inception. Preventing lawyers from switching sides,

14   therefore, protects the integrity of a lawyer’s candid advice, as well as its public work product.

15          Quinn Engaged Directly with Bright Data’s Senior Leadership on Matters Central to

16   Both Litigations. Nor can Quinn escape disqualification on the ground that its involvement was

17   “limited.” It was not. The engagement was substantial and substantive, and it triggered Quinn’s

18   full duties of loyalty and confidentiality.

19          Quinn dedicated a team of lawyers – not just a single individual – to the Bright Data

20   Engagement, and it canvassed the firm for their insights. Avisar Decl. ¶ 13. Indeed, at least three

21   Quinn lawyers had direct, personal contact with Bright Data’s executive team and were

22   “personally involved in providing legal advice and services” to Bright Data. MMCA Grp., Ltd. v.

23   Hewlett-Packard Co., 2007 WL 607659, *4 (N.D. Cal. 2007). Quinn also billed over 30 hours to

24   the engagement. Avisar Decl. ¶ 16. And even this understates the amount of work Quinn

25   performed, as its billing records omit at least three client calls and does not include any partner

26   time (despite the fact that a partner led the discussion for Quinn at the Board meeting). 9 Id. ¶ 17.
27

28
     9
       Avisar Decl., Ex. 1 ¶ 17 (explaining that Quinn’s invoice did not include all the time it spent on
     the matter, and did not include all the attorneys who worked on or, even, engaged directly with the
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 1   See Farhang v. Indian Inst. of Tech., 2009 WL 3459455, *2 (N.D. Cal. 2009) (matter substantially

 2   related where lawyer billed 19 hours to the former client); ViChip, 2004 WL 2780170, at *3 (a

 3   mere 2 ½ hours sufficient to support disqualification where actual legal advice was provided); Elan

 4   Transdermal Ltd. v. Cygnus Therapeutic Sys., 809 F. Supp. 1383, 1388 (N.D. Cal. 1992) (“The

 5   fact that Cost and Rothman billed only a short period of time does not preclude their work from

 6   being substantially related to the present litigation”).

 7          More importantly, Quinn had access to, and participated in discussions with, the highest

 8   levels of the company. And it was privy to attorney-client confidences and work product in the

 9   Meta litigation. Vaxmonsky v. Costco Wholesale Corp., 2022 WL 20955638, *2 (C.D. Cal. 2022)

10   (Inquiry into the “nature and extent” of the representation involves consideration of “the type of

11   work performed, and the attorney’s possible exposure to formulation of policy and strategy”).

12   V.     THE DUTY OF CONFIDENTIALITY PRECLUDES QUINN FROM
            SWITCHING SIDES.
13
            In addition to the duty of loyalty, the duty of confidentiality also precludes Quinn from
14
     switching sides. When Bright Data engaged Quinn to provide strategic assessment of the Meta
15
     litigation, Bright Data was forthcoming about its business, its objectives, and analyses of its claims,
16
     potential defenses, and potential counterclaims. Quinn probed Bright Data for information to help
17
     it provide a fulsome assessment of Bright Data’s legal exposure, and it received access to Bright
18
     Data’s sensitive attorney-client communications and work product relating to that matter.
19
            Under Rule 1.9(c), “a lawyer who has formerly represented a client in a matter or whose
20
     present or former firm has formerly represented a client in a matter shall not thereafter … use [or]
21
     reveal” that information. This rule, however, is not just a proscription on the actual use or
22
     disclosure of the information, it operates as a direct limitation on a lawyer’s ability to take on an
23
     adverse successive representation. As the California Supreme Court declared, “where an attorney
24
     successively represents clients with adverse interests, and where the subjects of the two
25

26   client). Whether the billing omission was in error or recognition that Quinn was fast approaching
27   the agreed-upon cap is irrelevant. What is relevant is that Quinn’s involvement was not peripheral,
     but went to the core of Bright Data’s litigation strategy in dealing with dominant social media
28   platforms bent upon eradicating scrapers.

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 1   representations are substantially related, the need to protect the first client’s confidential

 2   information requires that the attorney be disqualified from the second representation.” SpeeDee,

 3   20 Cal. 4th at 1146.

 4          The prohibition against successive representations does not require a showing that the

 5   lawyer actually possesses or used confidential information, since that would require delving into

 6   – and disclosing – attorney-client communications relating to both the former and current

 7   engagements. As the California courts have explained:

 8          “The trial court asked at the hearing ‘what knowledge is [Wilkins] really going to
            have that's going to give him any undue or unfair advantage in this present litigation
 9          against Fireman's Fund?’ The trial court was in essence asking FFIC to reveal the
10          specific confidential information that Wilkins had in his possession that could be
            used to FFIC's disadvantage in this case. As we articulated in Jessen, this type of
11          inquiry is outlawed.”

12   Farris v. Fireman's Fund Ins. Co., 119 Cal.App.4th 671, 683 & n.10 (2004) (citing Jessen, 111

13   Cal.App.4th at 709) (“Whether he actually possesses confidential information that would work to

14   his advantage in his current representation is not the test. Rather, the test is whether a substantial

15   relationship exists between the subjects of the two compared representations.”).

16          Accordingly, a lawyer will be disqualified upon a showing either that the lawyer possessed

17   relevant confidential information, or that the two successive matters are “substantially related.”

18   Id. In the latter case, the courts will “conclusively presume” that the lawyer obtained access to

19   client confidences. Flatt, 9 Cal. 4th at 283 (“Where the requisite substantial relationship can be

20   demonstrated, access to confidential information in the … first representation (relevant, by

21   definition, to the second representation) is presumed and disqualification is mandatory”); Jessen,

22   111 Cal.App.4th at 709 (“If the relationship between the attorney and the former client is shown

23   to have been direct—that is, where the lawyer was personally involved in providing legal advice

24   and services to the former client—then it … will be conclusively presumed that the attorney

25   acquired confidential information.”).

26          As noted, Quinn, through at least three of its lawyers, was directly and personally involved
27

28

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 1   in providing legal advice to Bright Data on a substantially related matter.10 As such, Quinn must

 2   be conclusively presumed to have acquired confidential information.

 3          Moreover, the circumstances surrounding the Quinn’s engagement show it obtained

 4   confidential information and had access to client confidences concerning Bright Data’s business,

 5   operations, and legal strategies. As the Quinn Engagement notes, Bright Data committed to

 6   provide “complete and accurate information regarding the subject matter of the Engagement,” and

 7   the engagement involved “a review of any key background documents, including correspondence

 8   between Bright Data and Meta, an analysis of the Litigation and defenses to pending claims, and

 9   a recommendation regarding next steps in the Litigation,” as well as discussions with

10   “individual(s) from Bright Data to answer questions relevant to [Quinn’s] analysis.” Ex. 2 at 4-5.

11          Given the nature and scope of the Engagement, it is inconceivable that Quinn would not

12   be privy to client confidences and confidential information. But we do not need to rest on

13   presumptions or circumstantial evidence. We have the Declaration of Bright Data’s General

14   Counsel, who attests that Bright Data actually shared sensitive confidential documents, attorney-

15   client communications, and Litigation Counsel’s work product—essentially, Bright Data’s

16   playbook. Avisar Decl. ¶¶ 4, 9, 11, 14.

17          While some – but not all – of the information Quinn considered in providing its strategic

18   assessment included information in the public record, that does not solve the problem. Quinn had

19   already received large volumes of Bright Data’s confidential information in connection with

20   discovery in the hiQ litigation pursuant to a Protective Order that restricted its use. Avisar Decl.,

21   Ex. 1 ¶ 2. Indeed, one reason Bright Data retained Quinn was its knowledge of Bright Data’s

22

23   10
        This is not a case, for example, where a junior lawyer with no direct client contact working on
24   a discrete and peripheral legal issue transferred to a new firm, which later took on an adverse
     engagement. In such cases, a further showing of likely access to confidential information is
25   required. Jessen, 111 Cal.App.4th at 711 (“if … the former attorney was not placed in a direct,
     personal relationship with the former client, the court must assess whether the attorney was
26   positioned during the first representation so as to make it likely the attorney acquired confidential
27   information relevant to the current representation.”). Here, because Quinn lawyers were directly
     involved in providing litigation advice to Bright Data, no further showing – beyond substantial
28   relatedness – is required.

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 1   technology and operations through this non-public information. Id. In any event, after retaining

 2   Quinn, Bright Data supplemented this record with additional non-public information, through

 3   conversations and documents. Id.¶ 9.

 4          But even if Quinn only had access to public information, the California Rules make clear

 5   that client confidences are not limited to “competitively sensitive” information or even non-public

 6   business information. See RPC Rule 1.9, Comment 5 (“the fact that information can be discovered

 7   in a public record does not, by itself, render that information generally known under paragraph

 8   (c).”). Protected client confidences also include litigation strategies and assessments, other

 9   attorney-client privileged information, and work product. See RPC 1.6 (“The principle of lawyer-

10   client confidentiality … encompasses matters … protected by the lawyer-client privilege, matters

11   protected by the work product doctrine.”); Hewlett-Packard Co. v. EMC Corp., 330 F. Supp. 2d

12   1087, 1094 (N.D. Cal. 2004) (Confidential information is information that “can be readily

13   identified as either attorney work product or within the scope of the attorney-client privilege.”).

14          As a leading treatise explains, disqualification is warranted under the “‘playbook’ approach

15   … where the lawyer learns such subtleties as the former client’s strategic decision-making

16   processes or levels of risk aversion, rather than confidential information as such.” The Law of

17   Lawyering §14.07. California follows this approach.            See Jessen, 111 Cal.App.4th at 710

18   (disqualification warranted where the lawyer “outlined the legal posture of the client and described

19   four legal options available to the client,” even though the “record ... did not reveal whether the

20   attorney acquired any knowledge or information from his clients, … because the attorney had

21   given the client legal advice.”); Bell N. Rsch., LLC v. ZTE Corp., 2019 WL 1590472, *5 (S.D. Cal.

22   2019) (“Confidential information may also involve communications related to litigation strategy

23   and the strengths and weaknesses of each side of the case.”). Indeed, Quinn has been disqualified

24   in other cases for similarly participating in client strategy sessions. Blake v. S. California Edison

25   Co., 2020 WL 3262832, *7 (Cal. Ct. App. 2020) (“QE attorneys participated in the December

26   2017 joint IOU meeting at which in-house attorneys discussed joint efforts and strategies…”).
27   Nor can there be any meaningful dispute that the information received in connection with the Meta

28

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 1   engagement would be relevant to the X matter, given the factual and legal similarities.

 2   VI.    DISQUALIFICATION IS REQUIRED TO PRESERVE THE INTEGRITY OF
            THE CLIENT RELATIONSHIP.
 3
            Quinn’s breach of the duties of loyalty and confidentiality require disqualification. As the
 4
     California Professional Rules make clear, “[w]hile lawyers are associated in a firm, none of them
 5
     shall knowingly represent a client when any one of them practicing alone would be prohibited
 6
     from doing so by rules 1.7 or 1.9.” RPC Rule 1.10(a). This rule of imputed disqualification is
 7
     inviolate, where, as here, the lawyers involved in the prior representation were at the firm when
 8
     that engagement occurred, and remain at the firm when the firm takes on the new conflicting
 9
     matter. There is no exception to disqualification in this scenario.
10
            Nor can the conflict be solved through an ethical screen. Rosenfeld Constr. Co. v. Superior
11
     Ct., 235 Cal.App.3d 566, 577 (1991) (If “the current representation is substantially related to the
12
     former …, a screening procedure cannot suffice to safeguard against the conflicting
13
     representations.”). Screens work when lawyers switch firms, but not when firms switch sides.
14
     Indeed, firms would be rife with conflicting matters if the “problem” could be solved simply by
15
     having different teams work on the two matters, even over the client’s objections.
16
            The Rules do not permit this. Under Rule 1.10(a)(2), a screen is effective in preventing
17
     imputed disqualification only where the “prohibition is based upon Rule 1.9(a) and arises out of
18
     the prohibited lawyer’s association with a prior firm.” RPC 1.10(a)(2); Elan Transdermal, 809
19
     F. Supp. at 1393 (disqualifying plaintiff’s firm because firm’s former attorneys had defended client
20
     in substantially similar case); Meza v. H. Muehlstein & Co., Inc., 176 Cal.App.4th 969, 978-79
21
     (2009) (“where an attorney is disqualified from representation, the entire law firm is vicariously
22
     disqualified as well…. Accordingly, an ‘ethical wall’ between an attorney with confidential
23
     information and his or her firm will generally not preclude the disqualification of the firm.”); Largo
24
     Concrete, Inc. v. Liberty Mut. Fire Ins. Co., 2008 WL 53128, *5 (N.D. Cal. 2008) (disqualifying
25
     firm when member attorney representing opposing party, despite the creation of an ethical wall);
26
     Klein v. Superior Ct., 198 Cal.App.3d 894, 912 (Ct. App. 1988) (“California precedent has not
27
     rushed to accept the concept of disqualifying the attorney but not the firm, nor has it
28

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 1   enthusiastically embarked upon erecting [ethical] walls.”); cf. Openwave Sys. Inc. v. Myriad

 2   France S.A.S., 2011 WL 1225978, *45 (N.D. Cal. 2011) (screen sufficient where lawyer switched

 3   firms); Kirk v. First Am. Ins. Co., 183 Cal.App.4th 776, 108814 (2010) (same).11

 4          Here, the prohibition on conflicting engagements arises, not out of any lawyer’s association

 5   with a prior firm, but with Quinn’s own representation of Bright Data. Because there is no

 6   exception to imputed disqualification in this scenario, there is no need to engage in any balancing

 7   of the equities. But even if the Court did so, the equities compel disqualification.

 8          X will not face significant prejudice if Quinn, which recently stepped in as replacement

 9   counsel, is disqualified. It has only been a month since the Court dismissed X’s complaint, so

10   Quinn has likely been working on the matter for just a couple of weeks. Nor do the Quinn attorneys

11   in this case mention any prior representation of Twitter or X on their bios, so disqualification

12   would not deprive X of long-time counsel.12 Indeed, because Quinn historically represented

13   scrapers, it is unlikely that Quinn obtained any confidential information from X relating to its anti-

14   scraping efforts prior to this engagement.

15          Nor has X shown any reason why its prior counsel (or any other non-conflicted lawyers of

16   its choosing) cannot handle this matter. Indeed, it appears that the only reason X switched horses

17   is that its prior counsel lost the initial motion to dismiss. But that does not mean they cannot

18   represent X, at least until X can find new replacement counsel. Indeed, having worked on the case

19   for almost a year, its prior counsel – who remain counsel of record in this case – have full

20
     11
       Quinn clearly worked on this case prior to entry of its appearance last week, and has either failed
21   to erect an ethical screen and/or failed to disclose the screen to Bright Data, as required by Rule
22   1.10(a)(2)(iii). Because it is inconceivable that Quinn’s new matter intake and conflict procedures
     would not have identified Bright Data as a recent, former client in a substantially related matter,
23   this Court should order Quinn to Show Cause why it did not engage in bad faith in undertaking the
     representation without notice or disclosure to Bright Data.
24
     12
        Bright Data specifically asked Quinn to disclose its representation of other “Big Tech
25   platforms.” Avisar Decl., Ex. 1 ¶ 18. In response, Quinn did not identify X in its list of
     representative matters. Id. To show its experience, it also pointed to its Internet Litigation landing
26   page on its website, which identifies representations of other Internet companies, such as Google
27   (both as a platform and a scraper). Id. The only reference to X (or Twitter) is an amicus brief,
     which Twitter joined along with Google in a secondSecond Circuit case over a decade ago.
28   www.quinnemanuel.com/practice-areas/internet-litigation/#representations.

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 1   knowledge of the facts and issues. See Diva Limousine, Ltd. v. Uber Techs., Inc., 2019 WL

 2   144589, at *13 (N.D. Cal. 2019) (“Diva has not shown that Uber unduly delayed in bringing this

 3   motion, that Uber’s motion constitutes tactical abuse, or that disqualification will result in undue

 4   hardship or impose an undue financial burden in Diva’s prosecution of this litigation.”); Bold Ltd.

 5   v. Rocket Resume, Inc., 2024 WL 589116, *12 (N.D. Cal. 2024) (“Gibson Dunn would remain as

 6   lead counsel, so Defendants will not face the financial burden or delay of replacing disqualified

 7   counsel.”); Klein v. Facebook, Inc., 2021 WL 3053150, *8 (N.D. Cal. 2021) (“Finally, the Court

 8   notes that Plaintiffs are unlikely to be significantly prejudiced because Keller Lenkner is one of

 9   four law firms representing consumers in the instant case.”).

10          Moreover, this is not a case where Bright Data has sought to use disqualification as a

11   tactical tool to disadvantage X. It did not lie in wait while X invested resources in Quinn. Rather,

12   X chose not to disclose Quinn’s involvement until late last week, a mere two days before it filed

13   its Motion to Amend. Bright Data filed this motion less than a week after Quinn’s appearance.

14   See Bold Ltd., 2024 WL 589116, at *12 (“The Court also does not find that Bold engaged in

15   tactical abuse because … Bold did not delay in seeking disqualification once it became aware of

16   the conflict.”); Antelope Valley Groundwater Cases, 30 Cal.App.5th 602, 623 (2018) (“This case

17   was not one where a party tried to increase an opponent’s litigation burdens by seeking

18   disqualification only after the challenged counsel performed a substantial amount of work.”);

19   SpeeDee, 20 Cal. 4th at 1145 n.2 (same).

20          In the end, “the need to maintain ethical standards of professional responsibility;” and “the

21   preservation of public trust in the scrupulous administration of justice and the integrity of the bar”

22   favor disqualification. X chose to use Quinn, either knowing that Quinn had represented Bright

23   Data in the Meta matter, or because Quinn failed to disclose the conflict to X. Either way, Bright

24   Data should not be punished for Quinn’s betrayal.

25   VII.   CONCLUSION.

26          For the foregoing reasons, the Court should disqualify Quinn from this case.
27

28

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